            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         CENTRAL DIVISION
DAVID ZINK, et al.,                             )
                                                )
             Plaintiffs,                        )       Case No. 12-4209-CV-C-BP
                                                )
      v.                                        )
                                                )       THIS IS A CAPITAL CASE
GEORGE A. LOMBARDI, et al.,                     )
                                                )       Execution scheduled for
             Defendants.                        )       12:01 a.m. Feb. 26, 2014
                                                )
            PLAINTIFF MICHAEL TAYLOR’S REPLY IN
     FURTHER SUPPORT OF MOTION FOR STAY OF EXECUTION
      BASED ON ABSENCE OF LAWFUL MEANS OF EXECUTION
      Defendants have now disclosed, less than a week before they wish to
execute Taylor, that a completely new – and completely unknown – player has
joined their team to perform the key function of providing the lethal drugs. They
have “arranged with a [new] pharmacy,” they say, “to supply pentobarbital for
Taylor’s execution.” (Opp’n at 2)
      Utterly nothing is known about this pharmacy. Has it been cited for
violating federal and state laws more or less often than the previous pharmacy?
Does it also send its drugs, to be tested for purity and sterility, to a laboratory that
approved a batch of tainted steroids that killed over 60 people? For that matter,
does the pharmacy test its drugs at all?
      Defendants ask for a leap of faith: “There is no reason to believe that the
execution will not,” they say, “be rapid and painless.” (Opp’n at 2) But Taylor “is
not limited to taking Defendants’ word that his rights will not be violated by what
they propose to do.” Oken v. Sizer, 321 F.Supp.2d 658, 665 (D.Md. 2004). He has
a right to meaningful notice and opportunity to object; that is impossible now.
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                                   ARGUMENT
      Executing Taylor in Less Than a Week Would Violate His Right to
      Due Process of Law
      “For more than a century the central meaning of procedural due process has
been clear: ‘Parties whose rights are to be affected are entitled to be heard; and in
order that they may enjoy that right they must first be notified.’ It is equally
fundamental that the right to notice and an opportunity to be heard ‘must be
granted at a meaningful time and in a meaningful manner.’” Fuentes v. Shevin,
407 U.S. 67, 80 (1972) (citations omitted).
      Moreover, “‘fairness can rarely be obtained by secret, one-sided
determination of facts decisive of rights. . . . [And n]o better instrument has been
devised for arriving at truth than to give a person in jeopardy of serious loss notice
of the case against him and opportunity to meet it.’” Id. at 81 (citation omitted).
      Since this litigation began, defendants have asserted a prerogative to make a
“secret, one-sided determination of facts decisive of [plaintiffs’] rights.” They will
decide, without prior notice, how plaintiffs are to be killed. They will inform
plaintiffs of that procedure when they feel like it. They will change that procedure
when they feel like it. They will respond to discovery requests when, and if, they
feel like it. They will shroud their “execution team” – liberally defined to include
pharmacies hundreds of miles away – in total secrecy, as two Eighth Circuit judges
say, “hidden behind the hangman’s hood.” (Exhibit A at 15)
      Likewise, if history repeats itself, defendants will offer their one-sided
analysis of the drugs, tested by their industry-captured laboratory, to argue that
plaintiffs need not know who made the drugs, how they were made, what they are

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made of, or where the ingredients came from.
      Indeed, defendants now claim – contrary to their deposition testimony last
month – that even the drug supplier’s supplier is a “state secret.” (Exhibit B at
Answer 9(c)) Defendants disclaimed this just last month (Exhibit C at 72) and cite
no law that actually supports their brand-new claim of secrecy. This baseless flip-
flop, that the supplier of the raw ingredients for the pharmacy is suddenly a
member of the “execution team,” raises obvious and reasonable questions: Just
why do defendants want to keep this a secret? Is it because the pharmacy’s
supplier has committed unlawful or unethical acts? Or is not regulated by the
FDA? Or is one of the Indian factories that “suffer[s] from serious quality control
problems?” (Exhibit D) Or is one of the Chinese factories that supplies raw
ingredients for American drugs but is similarly beyond the FDA’s effective reach?
(Exhibit D) Defendants never claimed this was a secret before. Why now?
      Defendants refuse to disclose anything about their new drug supplier, or
anything about the drug’s origins or testing (if any) in time for Taylor to have
either meaningful notice of what they wish to pump into him or an opportunity to
meaningfully object. Taylor’s right to judicial review cannot seriously be honored
by defendants now introducing, after having literally years to plan for this, a totally
unknown party to play a key role and then plowing through three levels of courts in
less than a week.
      It is unsettling, moreover, that defendants would even try. Whether one
supports or opposes capital punishment, there is something sordid about rushing to
execute a person less than a week after switching the supplier of the lethal drug–
especially where, as here, the drug is effectively unregulated and experimental and

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has already provided cause for alarm: “I feel my whole body burning,” Michael
Wilson said within seconds of pentobarbital being injected into him. Perhaps those
drugs came from the pharmacy defendants have now retained?
      Defendants complain that they have switched suppliers at the eleventh hour
only because Taylor persuaded the old pharmacy not to provide drugs to kill him.
The basis of Taylor’s suit against the old pharmacy, of course, was the fact that its
provision of execution drugs was unethical at best and unconstitutional at worst.
Defendants have no compunction about what they are doing; the pharmacy did.
      The Court should proceed with caution here, and not simply because Taylor
suggests it. “Because of the understandable, self-interested fallibility of litigants, a
court does not decide a dispute until it has had an opportunity to hear both sides–
and does not generally take even tentative action until it has itself examined the
support for [a party’s] position.” Fuentes, 407 U.S. at 83. As to the new player,
defendants essentially say: We’re not going to tell you anything material in time to
make an informed judgment but, trust us, everything will be fine. The Court
should reject this invitation to substitute one-sided assurances for judicial review.
      This is especially so because defendants’ assurances are baseless. “There is
no reason to believe that the execution will not,” they say, “be rapid and painless.”
(Opp’n at 2) Yet they ignore the fact that the reliability and potency of
compounded pentobarbital cannot be assured from execution-to-execution or from
batch-to-batch. (Docket 338-42) And here, of course, Taylor and the Court are
faced not simply with a different batch of the drug but with an entirely different
pharmacy, which may or may not be using the same raw ingredients as the last
pharmacy. Dr. Sasich has explained: “The effects of the state’s drug may vary

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considerably from execution to execution for a number of reasons.” (Docket
338-42 at 1) These include the fact that the drugs to be used in one particular
execution are not necessarily from the same batch as previous executions. Id. And
all of the many hazards Dr. Sasich has identified “with respect to compounded
pentobarbital remain from batch to batch and compounding pharmacy to
compounding pharmacy.” Id.
      “Given what is at stake,” one judge also faced with a last-minute change
concluded, “the Court simply cannot comply fully with that directive [to assess a
revised protocol] in time to render a reasoned decision and permit adequate
appellate review.” Morales v. Cate, 2010 WL 3835655 at *4 (N.D.Cal. 2010).
There, as defendants claim here, the old and new protocols were “remarkably
similar.” Id. at *3. “Given what is at stake,” the judge nonetheless granted a
limited stay of execution to meaningfully assess the revised protocol: “The Court
fully intends to undertake that review now, and to do so as quickly as is reasonably
possible.” Id. at *5. The fact that this would delay any execution until “the first
quarter of 2011” – which was three months later – “means that such a time line will
have minimal effect on Defendants’ longterm interests.” Id.
      The same is true here. It is reasonable to stay Taylor’s execution until he
and the Court can conduct the same inquiry that was done with respect to the prior
pharmacy: Has it broken the law? How does it prepare the drugs? What, exactly,
is in them? How are they stored? What analysis, if any, is performed to ensure
they pose no risk of inflicting substantial pain and suffering? These are all
reasonable questions that any litigant – capital inmate or not – has the right to ask
and have answered before an untested and unique compound is injected into him.

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      Moreover, answering these questions is essential to enforcing Taylor’s due-
process right to meaningful notice and meaningful opportunity to be heard. As
defendants ignore, scores of courts have rejected similarly hasty efforts to execute
people where the information was less than complete. See Arthur v. Thomas, 674
F.3d 1257, 1262 (11th Cir. 2012) (per curiam) (“[T]he district court committed
reversible error in dismissing Arthur’s Eighth Amendment claim without any
opportunity for factual development, including discovery between the parties.”);
Reynolds v. Strickland, 583 F.3d 956, 957 (6th Cir. 2009) (granting stay where
“serious and troubling difficulties” during past executions raised concerns over the
“competence of the lethal injection team”); Cooey v. Kasich, 801 F. Supp. 2d 623,
655 (S.D.Ohio 2011) (granting stay where there was evidence of “a troubling
pattern of disregarding the very protocol that is supposed to control and provide
safeguards for the execution process”); Moeller v. Weber, 2011 WL 288516 at *1
(D.S.D. 2011) (refusing to curtail “discovery concerning the plan for carrying out
executions in light of the shortage of sodium thiopental”); Morales v. Cate, 2010
WL 3835655 at *3 (N.D.Cal. 2010) (granting stay where condemned inmate raised
questions about “the selection and training of the execution team, the mixing and
delivery of the drugs used in executions, and the adequacy and accuracy of
execution records”); Chester v. Beard, 657 F. Supp. 2d 534, 542-454 (M.D.Pa.
2009) (holding that condemned inmates’ allegations of inadequately trained
personnel and inadequate safeguards, if true, would demonstrate a substantial risk
of serious harm, and giving inmates a chance to factually develop their claims);
Thorson v. Epps, 2009 WL 1766806 at *1-*2 (N.D. Miss. 2009) (denying motion
to dismiss condemned inmates’ allegations of executioner incompetence, which, if

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true, “plausibly would entitle him to relief,” and noting importance that “the factual
record had been completely developed”).
      The information here is definitely less than complete. In fact, the only
scientific evidence of record states that a drug’s full provenance – which
defendants refuse to provide – is essential to determining its safety. As explained
by pharmacology expert Dr. Larry Sasich:
      The Missouri Department of Corrections has not disclosed any evidence
      that the API [active pharmaceutical ingredient] in this case was
      manufactured in an FDA-registered facility. There is also no evidence that
      the API meets U.S. Pharmacopeia standards required for the finished dosage
      form: there is no way of knowing the current quality of the API in the bottle,
      after manufacture and initial testing (if performed), and after supply-chain,
      repackaging and pharmacy handling. The Department has not disclosed
      preliminary evidence and additional verification of production in a facility
      that is registered and inspected by FDA in any compounding process.
      Administering such an ingredient introduces an unacceptable risk of harm
      and is ill-advised.
(Docket157-3 ¶ 27) Anesthesiologist Mark J.S. Heath, M.D., agrees. See Docket
157-4 ¶ 10 (“The MDOC has not provided any information about the certification,
inspection history, infraction history, or other aspects of the compounding
pharmacy. This information would be essential to properly assessing the
provenance of the pentobarbital.”).
      Ignoring these facts, and the precedents above, defendants cite a single case,
Williams v. Hobbs, 658 F.3d 842 (8th Cir. 2011), for their claim that they may

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change the drug supplier – without providing any material information – and
execute Taylor less than a week later. Williams says nothing of the kind.
      First, the Williams plaintiffs were not facing imminent execution: all had
received stays. Id. at 848. As such, the Court neither addressed nor resolved the
question here: whether a state may switch to a completely unknown supplier of a
completely untested drug and use that drug to kill the plaintiff a few days later.
      Second, the protocol in Williams had already been held constitutional under
the Eighth Amendment. Id. at 852. Here, of course, that is not the case.
      Third, the Williams litigants’ fears of possible future misconduct were
speculative: “The prisoners have not demonstrated that the Director has departed
from this protocol. Rather they speculate the [sic] he might depart from it in the
future.” Id. Here, on the other hand, there is no need for speculation because
defendants have already made a last-minute switch by introducing a new player to
perform a key function in the protocol: provision of the lethal drugs.
      Fourth, the Williams litigants were fishing “to discover potential claims,” id.
(emphasis in original), whereas Taylor has already stated his claim: defendants’
constant, last-minute, and effectively secret changes to how they propose to
execute him violates his due-process right to meaningful notice of, and opportunity
to challenge, their attempt to take his life. See Second Amended Complaint
(Docket 338) at Claims VII and VIII.
      Fifth, the Williams Court expressed concern over a “situation occurring
where the prisoners must submit a FOIA request every day in order to be sure that
the protocol has not changed prior to the execution date.” Id. at 850. But, unlike
here, the defendants in Williams assured the Court they would provide timely

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notice of any changes: “The state’s counsel stated at oral argument that he could
not imagine a situation in which he would not be able to call the prisoners’ counsel
personally to inform them of a change in the protocol. This at least provides the
prisoners with some assurance that they will receive a timely response to their
request for information regarding a new protocol.” Id. Here, by contrast, the facts
are virtually the opposite. Defendants and their counsel have effectively eschewed
the undertaking the Eighth Circuit relied on from defendants’ counsel in Williams.
What the district court and the Eighth Circuit found to be speculative in Williams
was a fact to which this Court is a witness– and a fact made worse by yesterday’s
disclosure of a new supplier. Far from it being speculative that defendants will
make last-minute changes while withholding information to which plaintiffs and
this Court are entitled, that has already come to pass.
      Given the precendents above, which defendants ignore, Taylor has a
“significant possibility” of succeeding on his due-process claim. Hill v.
McDonough, 547 U.S. 573, 584 (2006). Moreover: “The right to be heard does not
depend upon an advance showing that one will surely prevail at the hearing. . . . It
is enough to invoke the procedural safeguards of the Fourteenth Amendment that a
significant property interest is at stake, whatever the ultimate outcome of a
hearing.” Fuentes, 407 U.S. at 87. Here, of course, it is not Taylor’s “property
interest” that is at stake but his very life. He has a fundamental constitutional right
not to be deprived of that life without due process of law.
      This right cannot be honored when, after 18 months of litigation, defendants
introduce an entirely unknown drug supplier and propose to use that supplier’s
entirely unknown product to kill Taylor a few days later. Due process requires a

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reasonable stay of execution– so Taylor has meaningful notice and opportunity to
object, and so this Court may meaningfully adjudicate his objections.
                                  CONCLUSION
      The Court should stay Taylor’s execution until he has meaningful notice of –
and opportunity to challenge – Missouri’s plan to take his life.


                                               Respectfully submitted,
                                               SEAN K. KENNEDY
                                               Federal Public Defender

DATED: February 20, 2014                  By    s/ Matthew B. Larsen
                                               MATTHEW B. LARSEN
                                               Deputy Federal Public Defender




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  EXHIBIT A




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                   UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

                                    No: 13-3664

                                  David Zink, et al.

                                 Allen L. Nicklasson

                                      Appellant

                              John C. Middleton, et al.

                                          v.

                             George A. Lombardi, et al.

                                      Appellees

__________________________________________________________________

Appeal from U.S. District Court for the Western District of Missouri - Jefferson City
                             (2:12-cv-04209-NKL)
__________________________________________________________________

                               AMENDED ORDER

      The petition for rehearing en banc, the petition for rehearing by panel and the

motion for stay of execution are denied as moot. Judge Duane Benton did not

participate in the consideration or decision of this matter.

BYE, Circuit Judge, with whom KELLY, Circuit Judge, joins, dissenting.




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      At approximately 10:52 p.m. on December 11, 2013, Missouri executed Allen

Nicklasson before this court had completed its review of Nicklasson's request for a

stay of his execution, a request he brought in a pending action challenging the

constitutionality of Missouri's execution protocol. That bears repeating. Missouri put

Nicklasson to death before the federal courts had a final say on whether doing so

violated the federal constitution.

      Missouri has a well-documented history of attempting to execute death row

inmates before the federal courts can determine the constitutionality of the

executions. In 1983, Missouri set an execution date for Doyle Williams before the

time had run for Williams to petition the Supreme Court for direct review of his

conviction and death sentence. Supreme Court Justice Harry Blackmun stayed the

execution, specifically advising Missouri that a "defendant must have at least one

opportunity to present to the [Supreme Court] his claims that his death sentence has

been imposed unconstitutionally." Williams v. Missouri, 463 U.S. 1301, 1301-02

(1983).

      Just a few months later, however, Missouri set the execution dates of four death

row inmates – Samuel Lee McDonald, Leonard Marvin Laws, Thomas Henry Battle,

and George Clifton Gilmore – before the time had run for the filing and disposition

of a petition for certiorari on direct review of the men's convictions and death




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sentences.   In the order entering a stay of the executions, Justice Blackmun

unequivocally stated that


      [e]very defendant in a state court of this Nation who has a right of direct
      review from a sentence of death, no matter how heinous his offense may
      appear to be, is entitled to have that review before paying the ultimate
      penalty. The right of review otherwise is rendered utterly meaningless.
      It makes no sense to have the execution set on a date . . . before
      [judicial] review is completed.


McDonald v. Missouri, 464 U.S. 1306, 1307 (1984).

      Additionally, Justice Blackmun reminded Missouri of what he said in

Williams:


      I thought I had advised the Supreme Court of Missouri once before, in
      Williams, that, as Circuit Justice of the Circuit in which the State of
      Missouri is located, I, upon proper application, shall stay the execution
      of any Missouri applicant whose direct review of his conviction and
      death sentence is being sought and has not been completed. I repeat the
      admonition to the Supreme Court of Missouri, and to any official within
      the State's chain of responsibility, that I shall continue that practice. The
      stay, of course, ought to be granted by the state tribunal in the first
      instance, but, if it fails to fulfill its responsibility, I shall fulfill mine.


Id. (emphasis added).



      Thirteen months after Justice Blackmun's admonition, Missouri set an

execution date for Walter Junior Blair. Prior to his execution date, Blair had filed a




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petition for writ of habeas corpus in federal district court. Blair then filed a motion

with the Missouri Supreme Court requesting a stay of his execution to give him a

meaningful opportunity to exercise his constitutional right of federal habeas review.

The Missouri Supreme Court nonetheless summarily denied the request for a stay.

A federal district court was thus required to step in and stay the execution. See Blair

v. Armontrout, 604 F. Supp. 723, 723 (W.D. Mo. 1985). In so doing, the court noted

that


       [b]y refusing the petitioner's request for a stay of execution, the Missouri
       Supreme Court has in effect authorized the execution of a condemned
       prisoner without affording him the opportunity to exercise his
       constitutional right of federal habeas corpus review. In so doing, the
       Missouri Supreme Court ignored its responsibility to stay executions
       while federal judicial review is pending.


Id. at 724. The district court reiterated the admonitions Justice Blackmun had given

Missouri in Williams and McDonald, and expressly held "[a] state prisoner sentenced

to death is constitutionally entitled to habeas corpus review," id. at 725, adding that

the principle of comity (i.e., federal courts first affording states the opportunity to

perform their constitutional duties) "will be jeopardized if the Missouri Supreme

Court continues to ignore its well-defined responsibility concerning requests for stays

of execution due to pending federal review. Since the Missouri Supreme Court has

failed to accept its responsibility, I shall accept mine." Id.




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      Less than a year after Blair, Missouri set January 6, 1986, as the execution date

for Gerald M. Smith. At the time, Smith was a death row inmate whose competency

was in question based upon his indecision about whether to pursue available state and

federal remedies attacking his conviction and death sentence, or abandon his legal

proceedings and proceed with his execution. Smith's brother, Eugene Smith, filed a

next-friend petition in a Missouri state court seeking a determination of his brother's

competency before Missouri proceeded with the execution; Eugene also filed a

motion in the Missouri Supreme Court to stay the execution until his brother's

competency could be determined. The Missouri Supreme Court summarily denied

the request for a stay "in one line and without any explanation." Smith By and

Through Smith v. Armontrout, 626 F. Supp. 936, 938 (W.D. Mo. 1986). After

Eugene obtained a ruling in the state trial court that his next-friend petition was a

valid action under Missouri law, the Missouri Supreme Court postponed the

execution for nine days, but ultimately "issued an order which, in effect, stated that

the next-friend [proceeding] . . . was a legal nullity and that no further extensions of

Gerald Smith's execution date would be granted." Id.



      Once again, a Missouri litigant was required to turn to the federal courts to

ensure that Missouri complied with constitutional requirements mandated by the

United States Supreme Court before carrying out an execution. See Rees v. Peyton,



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384 U.S. 312, 313-14 (1966) (explaining the competency procedures which any court

of this nation, state or federal, must follow when a death row inmate announces an

intention to abandon further appeals and proceed with an execution). In staying

Missouri's execution of Gerald Smith until his competency could be determined, the

federal district court stated "it becomes painfully obvious that the Missouri Supreme

Court's refusal to stay Gerald Smith's execution pending a competency determination

. . . had no basis in fact nor in law, but was merely an expedient way of washing its

hands of the matter and passing the buck to the Federal courts." Smith, 626 F. Supp.

at 940. The district court further noted "[t]his is not the first time that the Missouri

Supreme Court has passed the buck to the Federal courts by refusing to perform its

legal obligation to stay an execution . . . when the law required a stay to permit post-

conviction appeals to be heard in an orderly manner," id., and referred to the prior

Williams, McDonald, and Blair cases.

      The district court also commented on the necessary and inevitable tension

which exists between a state's choice to utilize death as a penalty on one hand, and

the safeguards our Founding Fathers saw fit to include in our federal constitution on

the other:


      This Court is aware that many members of the public are frustrated with
      what seems to be inordinate delay in the processing of appeals by death
      row inmates. Indeed, many people believe that there should be no
      appeals whatsoever following the jury's imposition of the death



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      sentence. The law, on the other hand, provides that certain procedures
      must be followed before a death sentence may be carried out. Although
      it may not win a popularity contest in any given case, this scheme was
      adopted to ensure that every individual would be accorded due process
      of law.


Id. at 940 n.3 (emphasis added).

      In May 2005, Missouri death row inmate Vernon Brown challenged the three-

chemical protocol Missouri used in its executions at the time. Brown was one of the

first death row inmates to participate in what subsequently became a multi-state

challenge to this three-chemical protocol, incited in large part by the publication of

an April 2005 article in the medical journal The Lancet. The article analyzyed

autopsy toxicology results from forty-nine executions where the three-chemical

sequence of sodium pentothal1 (a sedative), pancuronium bromide (a paralytic), and

potassium chloride (a very painful drug which induces a heart attack) was used to

carry out the executions. The article's authors essentially concluded that in almost

half of the autopsies examined (43%), the amount of sedative used in the executions

would have been insufficient to render the inmate unconscious. "In other words, the

use of this three-chemical sequence results in a possibility the person to whom it is

administered will be conscious when the inherently painful potassium chloride takes

effect, yet no one will know because of the paralytic effects of the pancuronium


      1
          Sodium pentothal is sometimes referred to as thiopental.



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bromide." Brown v. Crawford, 408 F.3d 1027, 1028 (8th Cir. 2005) (Bye, J.,

dissenting). The evidence Brown asked us to consider included the fact that nineteen

states had passed laws banning the use of a similar protocol to euthanize animals.

Brown alleged Missouri is "using a combination of chemicals they knew or should

have known would cause an excruciating death when they were telling the public it

was like putting a dog to sleep, when their own veterinarians would lose their licenses

for using the same chemicals on a stray." Id. (quoting Brown v. Crawford, No. 4:05-

VV-746-CEJ, Motions for Temporary Restraining Order at 19).

      The article in The Lancet had been published just a month before Brown's

execution date. He relied upon it to bring an eleventh-hour challenge to his

execution, merely asking Missouri to disclose the level of sodium pentothal it would

use in his execution before executing him – hardly an onerous request. In refusing

to disclose information about the dosage levels used in its execution protocol,

Missouri trumpeted the need to proceed with Brown's execution post haste in order

to provide the families of the victims of his crimes with closure. Against my dissent,

the Eighth Circuit said Missouri could execute Brown without first disclosing

whether its protocol utilized an adequate dosage of sodium pentothal. Brown was

strapped to a gurney at 11:30 p.m., and left there for three hours before a divided

Supreme Court finally denied his request for a stay and allowed Missouri to proceed

with his execution.



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      Missouri death row inmate Michael Anthony Taylor also challenged Missouri's

use of the three-chemical protocol. In more reflective deliberations not burdened by

the eleventh-hour nature of Vernon Brown's challenge, the federal courts handling

Taylor's suit understandably recognized he, along with other Missouri death row

inmates, were entitled to know the dosage levels Missouri used in its execution

protocol before Missouri could execute them.

      Taylor discovered numerous and significant problems with Missouri's

execution protocol, including inconsistencies between the amounts of sodium

pentothal Missouri claimed to be using in every execution, and chemical dispensary

logs which showed much lower amounts of the sedative actually being used in several

executions. See Taylor v. Crawford, No. 05-4173-CV-C-FJG, 2006 WL 1779035,

at *3 (W.D. Mo. June 26, 2006). Incredibly, Missouri had not adopted a written

protocol for its executions.    Even more incredibly, Missouri gave unfettered

discretion to an admittedly dyslexic physician to implement the state's unwritten

protocol, including the responsibility of correctly mixing the drugs used in

executions. Id. at *4-8. The district court's observations bear repeating here:


      After learning more about how executions are carried out in Missouri,
      through the interrogatories submitted to the John Doe defendants,
      reviewing the chemical dispensary logs, reviewing the videotape of the
      execution chamber and listening to the testimony of John Doe I, and to
      the testimony of the other expert witnesses at the June 12-13, 2006
      hearing, it is apparent that there are numerous problems. For example,



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    there is no written protocol which describes which drugs will be
    administered, in what amounts and defines how they will be
    administered. John Doe I testified that he came up with the current
    protocol. John Doe I also testified that he felt that he had the authority
    to change or modify the formula as he saw fit. It is apparent that he has
    changed and modified the protocol on several occasions in the past. He
    has reduced the amount of thiopental given from 5.0 grams to 2.5 grams
    and has also changed the location on the inmate's body where the drugs
    were administered. It is obvious that the protocol as it currently exists
    is not carried out consistently and is subject to change at a moment's
    notice.

    The Court is also concerned that John Doe I possesses total discretion
    for the execution protocol. Currently, there are no checks and balances
    or oversight, either before, during or after the lethal injection occurs.
    No one monitors the changes or modifications that John Doe I makes.
    John Doe I even testified that the Director of the Department of
    Corrections, Mr. Crawford, has no medical or corrections background,
    and that he is "totally dependent on me advising him." (John Doe Depo.
    p. 64).

    In addition to the fact that there is no oversight and the responsibility for
    making changes or adjustments is completely vested in one individual,
    the Court also has concerns about John Doe I's qualifications. John Doe
    I readily admitted that he is dyslexic and that he has difficulty with
    numbers and oftentimes transposes numbers. John Doe I testified "it's
    not unusual for me to make mistakes. . . . But I am dyslexic and that is
    the reason why there are inconsistencies in my testimony. That's why
    there are inconsistencies in what I call drugs. I can make these mistakes,
    but it's not medically crucial in the type of work I do as a surgeon."
    (John Doe Depo. p. 25). The Court disagrees and is gravely concerned
    that a physician who is solely responsible for correctly mixing the drugs
    which will be responsible for humanely ending the life of condemned
    inmates has a condition which causes him confusion with regard to
    numbers. As the Court has learned, the process of mixing the three
    different drugs and knowing the correct amount of the drugs to dissolve
    in the correct amount of solution involves precise measurements and the
    ability to use, decipher, and not confuse numbers. Although John Doe
    I does not feel this is crucial in the type of work he does as a surgeon, it



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      is critical when one is mixing and dissolving chemicals for a lethal
      injection.

      In addition, John Doe I testified that although he is not an
      anesthesiologist, he monitors the anesthetic depth of an inmate by
      observing the inmate's facial expression. However, as can be seen from
      the videotape of the execution chamber, when the inmate is lying on the
      gurney in the execution room, the inmate is facing away from the
      Operations room where John Doe I is located. Additionally, it is dark
      in the Operations room and there are blinds on the window which are
      partially closed and obstruct the view. This would make it almost
      impossible for John Doe I to observe the inmate's facial expression.
      This leads the Court to conclude that there is little or no monitoring of
      the inmate to ensure that he has received an adequate dose of anesthesia
      before the other two chemicals are administered.


Id. at *7-8. The district court ultimately concluded "Missouri's lethal injection

procedure subjects condemned inmates to an unnecessary [and unacceptable] risk

that they will be subject to unconstitutional pain and suffering when the lethal

injection drugs are administered." Id. at *8. The district court ordered Missouri to

prepare a new written protocol for the implementation of lethal injections to ensure

compliance with the federal constitution. Id. The Eighth Circuit vacated the

injunction entered by the district court to prevent Missouri from proceeding with any

executions only after Missouri adopted a detailed written execution protocol, and

indicated it would no longer use the services of the dyslexic physician. See Taylor

v. Crawford, 487 F.3d 1072, 1077 n.3, 1082-85 (8th Cir. 2007).




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                                          II

      With this history of Missouri's implementation of the death penalty in mind,

I turn to Allen Nicklasson's now-moot challenge to Missouri's more recent, ever-

changing execution protocol. Allen Nicklasson was one of a number of Missouri

death row inmates who filed suit raising constitutional challenges against an

execution protocol Missouri announced on May 15, 2012. The new protocol would

utilize just a single drug, propofol, to carry out executions. The inmates filed their

lawsuit in Missouri state court, but Missouri's choice to remove it triggered our

federal review.



      The inmates' challenge to Missouri's execution protocol is no longer about the

use of propofol because Missouri has changed the protocol numerous times since

May 2012, while still actively scheduling new executions. Joseph Franklin was also

one of the death row inmates participating in this constitutional challenge to

Missouri's execution protocol. Missouri scheduled, and completed, Franklin's

execution on November 20, 2013, notwithstanding the fact it changed the execution

protocol no less than five times between August 1, 2013, and November 20, 2103,

with the last protocol change occurring just five days before Franklin was executed.

      The issues currently involved in this protocol litigation include the fact that

Missouri is resorting to secret compounding pharmacies to concoct copycat versions



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of the drug pentobarbital to carry out its executions. Applying Hill v. McDonough,

547 U.S. 573 (2006), the district court presiding over the protocol litigation entered

a stay of Franklin's execution after concluding the inmates showed "a significant

likelihood of success on the merits, a showing of irreparable harm in contrast to

relatively little harm to [Missouri], and no fault in the delay of their current case

pending before this Court." Zink v. Lombardi, No. 2:12-CV-4209-NKL, 2013 WL

6080358, at *8 (W.D. Mo. Nov. 19, 2013).



      With respect to the moving target Missouri kept presenting to the inmates by

constantly changing its execution protocol while still going forward with Franklin's

execution (and now Nicklasson's), the district court said


      [death penalty] litigation is not a game of chess. Hill was intended to be
      a shield to protect defendants from abusive litigation practices by death
      row inmates. But it was never intended to be used as a sword permitting
      defendants to disrupt and delay the litigation process and then complain
      that time is up. Neither the Plaintiffs nor the Court have been able to
      address the merits of Plaintiffs' claim that the Defendants have adopted
      an execution protocol that violates the U.S. Constitution, because the
      Defendants keep changing the protocol that they intend to use. It would
      be a substantial departure from the way in which law suits are generally
      handled by this Court, to allow Defendants to succeed with this strategy.
      Rather, the pending dispute between the parties should be resolved on
      the merits after a reasonable opportunity for both sides to be heard,
      followed by a prompt, final order resolving the dispute. That is how it
      is normally done in America and it is a system that has worked quite
      well.




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Id. at *6.

       I agreed with the district court's analysis and voted to stay Franklin's execution.

Although a majority of my colleagues disagreed, and Franklin was allowed to be

executed, I still agree with the district court's analysis, which is why I voted to stay

Nicklasson's execution as well.



       My point, however, in this dissent from the denial of the petition for rehearing

en banc of Nicklasson's request for a stay, is not to discuss or rehash the merits of the

current protocol litigation. Rather, I feel obliged to say something because I am

alarmed that Missouri proceeded with its execution of Allen Nicklasson before this

court had even finished voting on Nicklasson's request for a stay. In my near fourteen

years on the bench, this is the first time I can recall this happening. In litigation

raising a constitutional challenge to his execution, a death row inmate sought a stay

of his execution under Hill, and before the federal courts had issued a final decision

on the pending request for a stay, Missouri carried out the execution.

       While the current protocol litigation is not among the category of cases for

which Nicklasson was entitled to an automatic stay of his execution, it was

nonetheless a claim that Missouri would violate the federal constitution by executing

him. As a result, Nicklasson was entitled to have this court complete its equitable

review under Hill to determine whether he was entitled to a stay before Missouri



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actually executed him. By proceeding with Nicklasson's execution before our court

had completed voting on his petition for rehearing en banc, Missouri violated the

spirit, if not the letter, of the long litany of cases warning Missouri to stay executions

while federal review of an inmate's constitutional challenge is still pending.



                                           III

      Missouri's past history of scheduling executions before a death row inmate has

exhausted his constitutional rights of review, using unwritten execution protocols,

misrepresenting dosage levels for drugs used in lethal injections, and providing

unfettered discretion to a dyslexic physician to mix the drugs and oversee its

executions, has earned from this federal judge more than just a healthy judicial

skepticism regarding Missouri's implementation of the death penalty. Its current

practice of using shadow pharmacies hidden behind the hangman's hood, copycat

pharmaceuticals, numerous last-minute changes to its execution protocol, and finally,

its act of proceeding with an execution before the federal courts had completed their

review of an active request for a stay, has committed this judge to subjecting the

state's future implementation of the penalty of death to intense judicial scrutiny, for

the sake of the death row inmates involved as well as adversaries and advocates of

capital punishment alike.

                         _____________________________



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                               December 23, 2013

Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit
            /s/Michael E. Gans




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  EXHIBIT B




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  EXHIBIT C




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                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 1
   1                    IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
   2                                 CENTRAL DIVISION
   3
   4     DAVID ZINK, et al.,                  )
                                              )
   5                  Plaintiffs,             )
                                              ) No. 2:12-CV-4209-BP
   6     vs.                                  )
                                              )
   7     GEORGE A. LOMBARDI, et al.,          )
                                              )
   8                  Defendants.             )
   9
  10                            DEPOSITION OF DAVE DORMIRE
                            Taken on behalf of the Plaintiffs
  11                                 January 15, 2014
  12                             Julie K. Kearns, CCR 993
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                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 72
    1           Q.     Do you contend that the manufacturer of the raw

    2     materials from which the compounded Pentobarbital is made

    3     is a member of the execution team?

    4           A.     The manufacturer?

    5           Q.     Uh-huh.

    6           A.     No.

    7           Q.     Let me draw your attention to, let's see here,

    8     page 1310 and 1312 and ask if you know what those

    9     documents are?

   10           A.     1310 is labels for Pentobarbital and 1312 is

   11     also a label.

   12           Q.     And are they -- is 1312 one of the same labels

   13     in 1310 or can we tell?

   14           A.     They are similar, yes.

   15           Q.     Okay.     So what information is redacted?     I mean,

   16     again, I'm not asking you to tell me what it says, but

   17     what category of information has been redacted there?

   18           A.     Name of the pharmacy, and its address, I assume,

   19     phone numbers, probably.        I don't know --

   20           Q.     Okay.

   21           A.     -- what all was redacted there.

   22           Q.     Okay.     Do those labels bear a date?

   23           A.     Yes.    November 13, 2013.

   24           Q.     And when was Joseph Franklin executed?

   25           A.     I want to say the 20th, but I don't know that


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  EXHIBIT D




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                                                     http://nyti.ms/1fnB61R


    ASIA PACIFIC



    Medicines Made in India Set Off Safety Worries
    By GARDINER HARRIS                  FEB. 14, 2014



                NEW DELHI — India, the second-largest exporter of over-the-counter and
                prescription drugs to the United States, is coming under increased scrutiny
                by American regulators for safety lapses, falsified drug test results and
                selling fake medicines.
                       Dr. Margaret A. Hamburg, the commissioner of the United States
                Food and Drug Administration, arrived in India this week to express her
                growing unease with the safety of Indian medicines because of “recent
                lapses in quality at a handful of pharmaceutical firms.”
                       India’s pharmaceutical industry supplies 40 percent of over-the-
                counter and generic prescription drugs consumed in the United States, so
                the increased scrutiny could have profound implications for American
                consumers.
                       F.D.A. investigators are blitzing Indian drug plants, financing the
                inspections with some of the roughly $300 million in annual fees from
                generic drug makers collected as part of a 2012 law requiring increased
                scrutiny of overseas plants. The agency inspected 160 Indian drug plants
                last year, three times as many as in 2009. The increased scrutiny has led to
                a flood of new penalties, including half of the warning letters the agency
                issued last year to drug makers.
                       Dr. Hamburg was met by Indian officials and executives who,
                shocked by recent F.D.A. export bans of generic versions of popular
                medicines — like the acne drug Accutane, the pain drug Neurontin and the


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                antibiotic Cipro — that the F.D.A. determined were adulterated, suspect
                that she is just protecting a domestic industry from cheaper imports.
                       “There are some people who take a very sinister view of the F.D.A.
                inspections,” Keshav Desiraju, India’s health secretary until this week, said
                in a recent interview.
                       The F.D.A.'s increased enforcement has already cost Indian
                companies dearly — Ranbaxy, one of India’s biggest drug manufacturers,
                pleaded guilty to felony charges and paid a $500 million fine last year, the
                largest ever levied against a generic company. And many worry that worse
                is in store.
                       “If I have to follow U.S. standards in inspecting facilities supplying to
                the Indian market,” G. N. Singh, India’s top drug regulator, said in a
                recent interview with an Indian newspaper, “we will have to shut almost
                all of those.”
                       The unease culminated Tuesday when a top executive at Ranbaxy —
                which has repeatedly been caught lying to the F.D.A. and found to have
                conditions such as flies “too numerous to count” in critical plant areas —
                pleaded with Dr. Hamburg at a private meeting with other drug executives
                to allow his products into the United States so that the company could
                more easily pay for fixes. She politely declined.
                       India’s drug industry is one of the country’s most important economic
                engines, exporting $15 billion in products annually, and some of its
                factories are world-class, virtually undistinguishable from their
                counterparts in the West. But others suffer from serious quality control
                problems. The World Health Organization estimated that one in five drugs
                made in India are fakes. A 2010 survey of New Delhi pharmacies found
                that 12 percent of sampled drugs were spurious.
                       In one recent example, counterfeit medicines at a pediatric hospital in
                Kashmir are now suspected of playing a role in hundreds of infant deaths
                there in recent years.
                       One widely used antibiotic was found to contain no active ingredient
                after being randomly tested in a government lab. The test was kept secret


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                for nearly a year while 100,000 useless pills continued to be dispensed.
                       More tests of hospital medicines found dozens more that were
                substandard, including a crucial intravenous antibiotic used in sick
                infants.
                       “Some of the fake tablets were used by pregnant women in the post-
                surgical prevention of infections,” said Dr. M. Ishaq Geer, senior assistant
                professor of pharmacology at the University of Kashmir. “That’s very
                serious.”
                       Investigations of the deaths are continuing, but convictions of drug
                counterfeiters in India are extremely rare.
                       Satish Reddy, president of the Indian Pharmaceutical Alliance, said
                Indian drug manufacturers were better than the F.D.A. now contends.
                “More rigorous enforcement is needed, for sure, but this impression that
                India is overrun with counterfeits is unjustified,” Mr. Reddy said.
                       But Heather Bresch, chief executive of Mylan, which has plants in the
                United States and India, said regulatory scrutiny outside the United States
                was long overdue. “If there were no cops around, would everyone drive the
                speed limit?” Ms. Bresch asked. “You get careless, start taking risks. Our
                government has enabled this.”
                       For Dr. Hamburg, the trip is part of a long-running effort to create a
                global network of drug and food regulators to help scrutinize the growing
                flood of products coming into the United States, including 80 percent of
                the seafood consumed in the United States, 50 percent of the fresh fruit,
                20 percent of the vegetables and the vast majority of drugs.
                       She has gone to conclaves of regulators from Europe and elsewhere to
                coordinate policing, but Indian officials have so far not attended such
                meetings.
                       Many of India’s drug manufacturing facilities are of top quality.
                Cipla, one of the industry’s giants, has 40 plants across the country that
                together can produce more than 21 billion tablets and capsules annually,
                and one of its plants in Goa appeared just as sterile, automated and high
                tech on a recent tour as those in the United States.


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                       Cipla follows F.D.A. guidelines at every plant and on every
                manufacturing line, and the company exports more than 55 percent of its
                production, said Yusuf Hamied, the company chairman.
                       But Benjamin Mwesige, a pharmacist at the Uganda Cancer Institute
                in Kampala, said in an interview in July that the institute had stopped
                buying cancer drugs from India in 2011 because it had received shipments
                of drugs that turned out to be counterfeit and inactive, with Cipla labels
                that Mr. Mwesige believed were forged.
                       He became suspicious when doctors began seeing chemotherapy
                patients whose cancer showed none of the expected responses to the drugs
                — and who also had none of the usual side effects. The drugs that had
                been prescribed were among the mainstays of cancer treatment —
                methotrexate, docetaxel and vincristine. Laboratory tests confirmed that
                the drugs were bogus, and Mr. Mwesige estimated that in 2011 20 percent
                of the drugs that the institute bought were counterfeit.
                       Enforcement of regulations over all is very weak, analysts say, and
                India’s government does a poor job policing many of its industries. Last
                month, the United States Federal Aviation Administration downgraded
                India’s aviation safety ranking because the country’s air safety regulator
                was understaffed, and a global safety group found that many of India’s
                best-selling small cars were unsafe.
                       India’s Central Drugs Standard Control Organization, the country’s
                drug regulator, has a staff of 323, about 2 percent the size of the F.D.A.'s,
                and its authority is limited to new drugs. The making of medicines that
                have been on the market at least four years is overseen by state health
                departments, many of which are corrupt or lack the expertise to oversee a
                sophisticated industry. Despite the flood of counterfeit drugs, Mr. Singh,
                India’s top drug regulator, warned in meetings with the F.D.A. of the risk
                of overregulation.
                       This absence of oversight, however, is a central reason India’s
                pharmaceutical industry has been so profitable. Drug manufacturers
                estimate that routine F.D.A. inspections add 25 percent to overall costs. In


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                the wake of the 2012 law that requires the F.D.A. for the first time to
                equalize oversight of domestic and foreign plants, India’s cost advantage
                could shrink significantly.
                       Some top manufacturers are already warning that they may leave,
                tough medicine for an already slowing economy.
                       “I’m a great nationalist, an Indian first and last,” Dr. Hamied said.
                “But companies like Cipla are looking to expand their businesses abroad
                and not in India.”
                       American businesses and F.D.A. officials are just as concerned about
                the quality of drugs coming out of China, but the F.D.A.'s efforts to
                increase inspections there have so far been frustrated by the Chinese
                government.
                       “China is the source of some of the largest counterfeit manufacturing
                operations that we find globally,” said John P. Clark, Pfizer’s chief security
                officer, who added that Chinese authorities were cooperative.
                       Using its new revenues, the F.D.A. tried to bolster its staff in China in
                February 2012. But the Chinese government has so far failed to provide the
                necessary visas despite an announced agreement in December 2013 during
                a visit by Vice President Joseph R. Biden Jr., said Erica Jefferson, an
                F.D.A. spokeswoman.
                       The United States has become so dependent on Chinese imports,
                however, that the F.D.A. may not be able to do much about the Chinese
                refusal. The crucial ingredients for nearly all antibiotics, steroids and
                many other lifesaving drugs are now made exclusively in China.
                Denise Grady contributed reporting from Kampala, Uganda, and Hari Kumar from Srinagar,
                Kashmir.

                A version of this article appears in print on February 15, 2014, on page A1 of the New York edition
                with the headline: Medicines Made in India Set Off Safety Worries.




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                         CERTIFICATE OF SERVICE
      I hereby certify that on February 20, 2014, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which sent
notification of such filing to counsel for defendants, who are registered CM/ECF
users here.

                                              s/ Matthew B. Larsen
                                              MATTHEW B. LARSEN




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